    Case 14-42555             Doc 47     Filed 11/27/19 Entered 11/27/19 23:29:21                  Desc Imaged
                                         Certificate of Notice Page 1 of 2
Form defdso13

                                      UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois
                                                 Eastern Division
                                                 219 S Dearborn
                                                    7th Floor
                                                Chicago, IL 60604



In Re:
                                                                  Case No. 14−42555
                                                                  :
Roxanne M Painter                                                 Chapter : 13
3553 S. Hermitage, Basement                                       Judge :   Carol A. Doyle
Chicago, IL 60609
SSN: xxx−xx−6376 EIN: N.A.




                         NOTICE TO INDIVIDUAL DEBTORS IN CHAPTER 12/13 CASES
                               OF REQUIRED DOCUMENT FOR DISCHARGE


         In order to receive a Discharge, you must file the following document.

            Debtor's Declaration Domestic Support Obligations.
       Please complete the local form titled Debtor's Declaration Regarding Domestic Support Obligations. If a joint
petition was filed, each spouse must complete and file a separate declaration.

    The local form, Debtor's Declaration Regarding Domestic Support Obligations, is available on our website at
www.ilnb.uscourts.gov/Forms/Form_Orders.cfm

       If you do not file the required document, your case will be closed without a discharge. You will still be liable
for the current balance of the debts you owed before filing. If you subsequently file a Motion to Reopen, you must
pay the reopening fee.
         If you are represented by an attorney, please contact your attorney for guidance.
         If you have any questions about submitting the form, please call 312−408−5000.

                                                              FOR THE COURT



Dated: November 25, 2019                                      Jeffrey P. Allsteadt, Clerk
                                                              United States Bankruptcy Court
          Case 14-42555            Doc 47       Filed 11/27/19 Entered 11/27/19 23:29:21                         Desc Imaged
                                                Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 14-42555-CAD
Roxanne M Painter                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: moneal                       Page 1 of 1                          Date Rcvd: Nov 25, 2019
                                      Form ID: defdso13                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 27, 2019.
db             +Roxanne M Painter,   3553 S. Hermitage, Basement,   Chicago, IL 60609-1357

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 27, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 25, 2019 at the address(es) listed below:
              David M Siegel    on behalf of Debtor 1 Roxanne M Painter davidsiegelbk@gmail.com,
               R41057@notify.bestcase.com;johnellmannlaw@gmail.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Terri M Long    on behalf of Creditor   Wells Fargo Bank N.A. d/b/a Wells Fargo Dealer Services
               tmlong@tmlong.com, Courts@tmlong.com
              Tom Vaughn     ecf@tvch13.net, ecfchi@gmail.com
                                                                                             TOTAL: 4
